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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                     CASE NO.: 18-20393-MGC(s)

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.

   SANDRA RUBALLO

        and

   CARLOS MONTOYA,

         Defendants.
   _________________________________/

         DEFENDANT RUBALLO’S MOTION TO SUPPRESS EVIDENCE AND FOR
        RETURN OF PROPERTY AND INCORPORATED MEMORANDUM OF LAW

              The Defendant, SANDRA RUBALLO (“Ruballo”), through undersigned counsel,

   respectfully moves this Court, pursuant to Rules 12(b)(3)(C) and 41(h), of the Federal Rules of

   Criminal Procedure, to suppress all text messages between her and the civil corporate attorney for

   Highland Food Resources (“HFR”), and any other information, seized by law enforcement from her

   cellphone which exceeded the scope of the search warrant. Ruballo submits that the aforementioned

   evidence was illegally seized and thus, should be suppressed, and any reference made thereto deemed

   inadmissible at the trial herein and any other proceedings. Since Ruballo was aggrieved by an

   unlawful seizure, this Court should also order the Government, pursuant to Fed.R.Crim.P. 41(g), to

   return that property to her, and not retain or disseminate any copies of the illegally-seized items to

   any other Government entity or third parties and prohibit using those materials for any reason.
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          I.      Background concerning the issuance and execution of the search warrant for
                  Ruballo’s cellphone

          On April 25, 2018, Special Agent Robert Norman (“Norman”) of the United States Secret

   Service applied for the issuance of a search warrant for Ruballo’s cellphone by executing an affidavit

   and submitting it for review by United States Magistrate Judge Edwin Torres. In relevant part,

   Norman stated the following in his application for a search warrant:

          3.        This Affidavit is submitted for the purpose of demonstrating probable
          cause to obtain a search warrant to search and conduct a forensic examination of
          one (1) device, that is, one (1) rose gold and white Apple iPhone 7-plus model
          A1784 cellular telephone, bearing Subscriber Identity Module (SIM) card
          number 8901410427 9030185680, serial number C38SCRJVHFYC, and
          International Mobile Equipment Identity (IMEI) number 35 915307 396690 9
          (hereinafter the "TARGET DEVICE"), as further described in Attachment A, for
          the seizure of items constituting evidence of the commission of a criminal
          offense, the fruits of crime, or property designed or intended for use or which is
          or has been used as the means of committing a criminal offense, namely,
          conspiracy to commit wire fraud, in violation of Title 18, United States Code,
          Section 1349. as more fully described in Attachment B. The TARGET DEVICE
          was in the possession of Defendant Sandra Ruballo ("RUBALLO") on or about
          April 24, 2018, when RUBALLO was arrested for violations of Title 18, United
          States Code, Section 1349, that is, conspiracy to commit wire fraud. The
          TARGET DEVICE is currently in USSS custody at a secure facility in Miami,
          Florida.

          ****

          5.       Based on the facts set forth in the Affidavit, I respectfully submit that
          there
          is probable cause to believe that within the TARGET DEVICE, there is evidence
          of the commission of a criminal offense, the fruits of crime, or property designed
          or intended for use or which is being used or has been used as the means of
          committing a federal criminal offense, in particular; violation of Title 18, United
          States Code, Section 1349, that is, conspiracy to commit
          wire fraud.

          ****

          24.      Additionally, in December 2017, law enforcement arrested "Y.M.," a co-
          conspirator in connection with the investigation. Phone records obtained by law
          enforcement reveal that after the arrest, there were repeated and frequent
          communications via calls, text messages, and other means, between phone


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          numbers registered to RUBALLO and phone numbers belonging to co-
          conspirators at HFR and Montoya Holdings. Further, a review of electronic
          communications received by law enforcement during the investigation revealed
          that the conspirators communicated in furtherance of the scheme using cellular
          phones and messaging applications such as WhatsApp.

          ****

          25.       Based on my training and experience, I have learned that persons who is
          involved in a scheme to defraud often use their cellular telephone as a means to
          further the fraud. Such information includes conversing with co-conspirators,
          using the phone's internet to search for fraud related activity, victim information,
          and photographs or video that illustrate or are otherwise indicative of fraud.
          Accordingly, there is probable cause to believe that within the TARGET DEVICE
          there exists evidence, fruits, and instrumentalities of violations of Title 18, United
          States Code, Section 1349, that is, conspiracy to commit wire fraud.

          Based on that affidavit, Magistrate Judge Torres that same day signed a search warrant for

   Ruballo’s cellphone. Set forth below is Attachment B to that search warrant which listed the

   particulars of the items that law enforcement was authorized to seize.

                                          ATTACHMENT B

                                       ITEMS TO BE SEIZED

          1.     Any and all information pertaining to Highland Food Resources, Inc.
          ("HFR") Montoya Holdings, Inc., and related entities, including employees,
          independent contractors, contracts, bids, payments, purchase and sale of
          businesses and goods, credit card and merchant account numbers, and
          communications relating to same.

          2.      Any and all communications, call logs, contact lists, text messages, MMS
          messages, applications, programs, emails, pictures, videos, or other stored
          information pertaining to wire fraud, as defined in Title 18, United States Code,
          Section 1349.

          3.       Any and all documents, notes, records, logs, correspondence, messages,
          lists, address books, and names and addresses of individuals who may have been
          contacted for the purpose of conducting a scheme to defraud.

          4.      Any and all stored documents, notes, records, logs, correspondence,
          messages, or ledgers pertaining in any way to catering provided to daycare
          centers, HFR, the Florida Department of Health ("DOH"), the Child Care Food
          Program ("CCFP"), or meals provided in connection with same.


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          5.       Evidence of user attribution showing who used or owned the TARGET
          DEVICE, and who created, edited, or deleted items in the TARGET DEVICE, such
          as logs, phonebooks, saved usernames and passwords, documents, and browsing
          history.

          6.       Records of communications, in any format or medium, including Internet
          activity, related to violations of 18 U.S.C. §1349 and related violations, including
          firewall logs, caches, browser history, cookies, "bookmarked" web pages, and
          search terms that the user entered into any Internet search engine.

          7.      As used above, the terms "records" and "information" include all of the
          foregoing items of evidence in whatever form and by whatever means they may
          have been created or stored, including any form of computer or electronic storage
          (such as flash memory or other media that can store data) and any photographic
          form.

          8.     Any and all notes, documents, records, or correspondence, in any format
          and medium (including, but not limited to, envelopes, letters, papers, e-mail
          messages, text, SMS, and MMS messages, chat logs and electronic messages,
          computer files and software, and digital data files):

                   a.     Pertaining to any bank, credit card or other financial account;
                   b.     Pertaining to any money or wire transfers;
                   c.     Pertaining to the ownership or use of the property described in
                          Attachment A.

          Subsequent to that search, Assistant United States Attorney Karen Gilbert (“Gilbert”)

   advised undersigned counsel that law enforcement had discovered that Ruballo’s cellphone

   contained “sexting”1 messages between Ruballo and Highland Food Resource’s corporate civil

   attorney and that a “non-prosecutorial team” would review all contacts between them to assure that

   no privileged communications would be viewed and utilized by the prosecutors in the prosecution

   of the case. Undersigned counsel expressed her belief to Gilbert that none of those text messages

   were admissible or relevant and should not be forwarded to Government trial counsel. However, the




   1 “Sexting” is a form of virtual sexual behavior,
                                                generally meaning “the sending of sexually explicit
   messages or images by cell phone.” https://www.merriam-webster.com/dictionary/sexting.



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   Government has apparently decided that the text messages evidence (which they mischaracterize as

   an “extramarital affair”) would be admissible to show civil counsel’s bias and motive to provide

   favorable testimony for Ruballo if he testified at her trial.2

             II.    Since the scope of the search for Ruballo’s cellphone exceeded the
                    terms of the search warrant, the seizure of the text messages between
                    Ruballo and HFR’s corporate civil counsel was unconstitutional 3

             “When an official search is properly authorized [pursuant to] the issuance of a valid

   warrant[,] the scope of the search is limited by the terms of its authorization” Walter v. United

   States, 447 U.S. 649, 656 (1980). When a search requires review of a large collection of items, “it

   is certain that some innocuous documents will be examined, at least cursorily, in order to determine

   whether they are, in fact, among those … authorized to be seized.” Andresen v. Maryland, 427

   U.S. 463, 482 n. 11 (1976). “If the scope of [a] search exceeds that permitted by the terms of a

   validly issued warrant ..., the subsequent seizure is unconstitutional without more.” Horton v.

   California, 496 U.S. 128, 140 (1990). However, the “seizure of items beyond the scope of a search

   warrant generally does not result in the suppression of evidence that is within the warrant’s terms;


   2   In the Government’s Omnibus Motions in Limine, the trial prosecutor disclosed that

             [r]eview of Defendant Ruballo’s phone revealed she was having an affair with the
             civil corporate counsel that she hired to represent Highland in connection with the
             June 2016 serious deficiency. This attorney – a man – was saved under the female
             alias “Teresa M.” in Defendant Ruballo’s phone. Voluminous correspondence
             between Defendant Ruballo and this contact includes non-privileged discussions
             and many sexual discussions. Legal fees were paid to this attorney using CCFP
             funds as well as using funds from a “donation” to Highland from Defendant
             Montoya, which was funded by CCFP payments from Highland to Montoya. The
             affair started before the attorney’s representation of Defendant Ruballo ended, as
             communications show that the attorney represented – or claimed to represent –
             Highland into 2018.

   [DE81:20]
   3   Ruballo does not contest the validity of the search warrant issued for her cellphone.



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   instead, in most cases only seized items that are outside the warrant’s terms will be suppressed.”

   United States v. Maali, 346 F.Supp.2d 1226, 1250 (M.D.Fla.2004). Cf. United States v. Garcia,

   496 F.3d 495, 507 (6th Cir. 2007) (“where … officers unlawfully seize certain items but do not

   flagrantly disregard the limits of the warrant by unreasonably searching places not authorized in

   the warrant, the court must suppress the unlawfully seized items, but ‘there is certainly no

   requirement that lawfully seized evidence be suppressed as well.’”) (citation omitted); United

   States v. Schandl, 947 F.2d 462, 465 (11th Cir. 1991) (“The seizure of items not covered by a

   warrant does not automatically invalidate an otherwise valid search. ‘This is especially true where

   the extra-warrant items were not received into evidence against the defendant.”’) (citations

   omitted).4 Consequently,

          to the extent such [items are] not within the scope of the warrant[] or were otherwise
          improperly seized, the [Government should] return[] them voluntarily [or ] the trial
          judge [should] suppress[ them]…[R]esponsible officials, including judicial
          officials, must take care to assure that [searches pursuant to a search warrant] are
          conducted in a manner that minimizes unwarranted intrusions upon privacy.

   Andresen v. Maryland, supra.

          “Modern cell phones are not just another technological convenience. With all they contain

   and all they may reveal, they hold for many Americans ‘the privacies of life,’” such as contacts,

   diaries, calendars, photographs, correspondence, and other personal records. Riley v. California,

   134 S. Ct. 2473, 2494-2495 (2014) (citation omitted). The text messages exchanged between



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          Total suppression may be appropriate where the executing officer’s conduct
          exceeds any reasonable interpretation of the warrant’s provisions. Courts have
          consistently held, however, that absent a “flagrant disregard” of the terms of the
          warrant, the seizure of items outside the scope of a warrant will not affect
          admissibility of items properly seized.

   United States v. Wuagneux, 683 F.2d 1343, 1354 (11th Cir.1982) (citation omitted).



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   Ruballo and the corporate civil attorney (and discovered on Ruballo’s cellphone) fall into three

   categories: 1) those communications protected by the attorney-client privilege; 2) conversations

   not in furtherance of any legal representation but of a personal, non-sexual nature; and 3) messages

   which are of a sexual nature. While the search warrant allowed law enforcement to inspect the

   contents of Ruballo’s cellphone for evidence linking her to violations of 18 U.S.C. §1349, it would

   have been immediately apparent to agents and prosecutors when they viewed the text messages

   between Ruballo and HFR’s civil attorney on the former’s cellphone that none of those messages

   were within the scope of the search warrant, or contained any incriminating evidence concerning

   any other crimes. Since the Government has not alleged that its review of any text message

   (especially those mischaracterized as evidence of an “extramarital affair”) between Ruballo and

   the civil attorney constituted evidence in furtherance of the commission of any crime, the

   Government’s seizure of those text messages outside the scope of the search warrant, as well as

   their retention and prospective use for any reason, is unconstitutional. Notwithstanding the

   Government’s expressed intent to use the “sexting” messages at trial to attempt to show the bias

   and motive of the civil attorney if he testifies for Ruballo, it would be inequitable for the

   Government to receive an unjust windfall from its illegal seizure by allowing them to present such

   evidence either in its case-in-chief or cross-examining the civil attorney or Ruballo.

          Based on the foregoing facts and argument, Ruballo submits that all the aforementioned text

   messages between her and the civil attorney (as well as any other items discovered on her cellphone

   that were seized which are beyond the scope of the search warrant) should be suppressed and

   returned to her. See United States v. Maali, 346 F.Supp.2d 1226, 1266 (M.D.Fla.2004)

   (Government not entitled to retain items illegally-seized pursuant to a search warrant and must

   return them to defendant).




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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served upon all

   counsel of record by using the CM-ECF system this 24th day January, 2019.

                                             Respectfully submitted,

                                             RATZAN & FACCIDOMO, LLC
                                             1450 Brickell Avenue, Suite 2600
                                             Miami, Florida 33131
                                             (305) 374-5730 tel
                                             mycki@rflawgroup.com

                                         BY: /s/ Mycki Ratzan, Esq.
                                            MYCKI RATZAN, ESQ.
                                            (FBN 915238)




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